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 14   Signature Page)
 15                        UNITED STATES DISTRICT COURT
 16                      CENTRAL DISTRICT OF CALIFORNIA
 17
 18
                                                    Case No. 2:15-ml-02668-BRO (JEMx)
 19
      IN RE: NATIONAL FOOTBALL                      JOINT PRELIMINARY REPORT
 20   LEAGUE “SUNDAY TICKET”
                                                    Hon. Beverly Reid O’Connell
 21   ANTITRUST LITIGATION
                                                    DATE: May 18, 2016
 22                                                 TIME: 1:30 p. m.
                                                    LOCATION: Courtroom 14
 23   THIS DOCUMENT RELATES TO
      ALL ACTIONS
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  1         Pursuant to the Court’s Order Setting Case Management Conference and
  2   Briefing Schedule (the “Case Management Order”) (Doc. 27), entered on
  3   February 1, 2016, as modified by the Court’s Order on the Stipulation to
  4   Reschedule Case Management Conference and Deadline for Submission of Joint
  5   Preliminary Report, entered on March 8, 2016 (Doc. 97), the parties in the above-
  6   captioned Multidistrict Litigation (the “MDL”) respectfully submit this Joint
  7   Preliminary Report. This Report is the result of conferences held between counsel
  8   for the parties on February 24, 2016 and March 9, 2016.
  9   I.    BRIEF NARRATIVE OF THE FACTS NOT IN DISPUTE
 10   The Court’s Request:
 11         A brief narrative statement regarding those facts relating to the cases that are
 12   not in dispute.
 13   The Parties’ Statement:
 14         This is an antitrust case. Plaintiffs challenge an alleged agreement of all 32
 15   National Football League (“NFL”) teams to pool their individual television
 16   broadcast rights and to license certain rights to “out-of-market” games through the
 17   “Sunday Ticket” package distributed exclusively by DIRECTV. The plaintiffs
 18   include residential and commercial subscribers to the “Sunday Ticket” package, and
 19   the named defendants include the NFL, all of its constituent clubs, DIRECTV, CBS,
 20   Fox, NBC, and ESPN.
 21         The following background facts are not disputed by the parties:
 22         1.       The NFL and its 32 member clubs produce an annual series of football
 23   games that culminate in the Super Bowl championship. The NFL and its clubs,
 24   acting through the League, collectively license the television broadcast rights to
 25   these games.
 26         2.       During its 2015 regular season, the NFL generally scheduled between
 27   10 and 13 games on Sunday afternoons, which were televised on CBS and Fox. The
 28   NFL generally scheduled one game each on Thursday, Sunday, and Monday nights.

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  1   CBS and the NFL Network televised the Thursday night games; NBC televised the
  2   Sunday night games; and ESPN televised the Monday night games.
  3         3.     On Sunday afternoons during the regular season, television viewers
  4   generally have free, over-the-air access to every game played by the team or teams
  5   located in or near the viewer’s local area, and to at least two “out-of-market” games,
  6   i.e., games played between teams based outside of the viewer’s local area.
  7         4.     DIRECTV, LLC (“DIRECTV”)1 is a provider of direct broadcast
  8   satellite (“DBS”) television service in the United States.
  9         5.     The NFL has licensed to DIRECTV the right to redistribute, with
 10   limited exceptions, the live telecasts of all NFL teams’ Sunday afternoon regular
 11   season games currently produced by FOX and CBS. Under that license agreement,
 12   DIRECTV redistributes a package of out-of-market NFL games played on Sunday
 13   afternoons—the “Sunday Ticket” package. DIRECTV currently has the exclusive
 14   right to distribute the Sunday Ticket package in the United States.
 15         6.     Plaintiffs generally allege that they are subscribers of DIRECTV’s
 16   Sunday Ticket package. Some plaintiffs are residential subscribers who received the
 17   Sunday Ticket package in their homes. Other plaintiffs are commercial subscribers
 18   (e.g., bars or restaurants) that permit their customers to view Sunday Ticket package
 19   games while patronizing those establishments.
 20   II.   PRINCIPAL FACTUAL AND LEGAL ISSUES IN THE CASES
 21   The Court’s Request:
 22         A brief statement of the factual and legal issues that the parties currently
 23   believe are central to a resolution of the case, and those that are potentially
 24   dispositive. Because these statements will not be binding on any party, will not
 25
      1
 26    DIRECTV Holdings LLC is the direct parent company and 100 percent owner of
 27   DIRECTV, LLC. DIRECTV Sports Networks, LLC owns and operates regional
      sports networks in certain regions of the United States. These regional sports
 28   networks do not broadcast any live regular season NFL games.
                                                 2
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  1   waive any claims or defenses, and may not be offered into evidence by any party
  2   against any other party in later proceedings, the Court expects the parties to
  3   candidly discuss what they believe to be the most important issues in the case. The
  4   Court prefers a focused discussion that will assist the Court in understanding the
  5   important issues to be resolved.
  6         A.      Plaintiffs’ Statement
  7         This MDL concerns a horizontal agreement among the NFL and its 32
  8   member teams to not compete with respect to the sale of television broadcast rights
  9   for live, out-of-market NFL games and to combine those rights into a single
 10   package, and a corresponding agreement with DIRECTV to sell that package in a
 11   long-term exclusive deal. DIRECTV then broadcasts out-of-market NFL games
 12   through its all-or-nothing NFL “Sunday Ticket” subscription service.
 13         Each NFL team individually owns the right to license the live broadcasts of its
 14   own games. Through their anticompetitive agreements, defendants have eliminated
 15   competition among teams and among programming distributors alike. As a result, no
 16   options exist at all for purchasing the subject out-of-market games on the basis of
 17   individual games or individual teams; no options exist for purchasing from any
 18   entity other than DIRECTV; purchasers are deprived of choice and price
 19   competition; and the defendants reap monopoly profits. These agreements—to pool
 20   all 32 NFL teams’ television broadcast rights and to sell those rights exclusively to
 21   DIRECTV—are precisely the types of restraints of trade that the Sherman Act
 22   prohibits.2
 23         Defendants’ anticompetitive conduct injures both residential subscribers and
 24   commercial subscribers. Plaintiffs are currently evaluating how best to organize this
 25   litigation in light of these types of subscribers, including whether claims should be
 26   asserted on behalf of a single class comprised of all subscribers.
 27   2
       Certain plaintiffs have also named the television networks that carry NFL games as
 28   defendants.
                                                3
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  1         The antitrust exemption in the Sports Broadcasting Act (“SBA”) is
  2   inapplicable in these circumstances. The core issue in these cases is the horizontal
  3   agreement among the 32 teams to exclusively sell their telecasts jointly through the
  4   NFL, which in turn makes most games available in each area by subscription
  5   packages or pay television—not sponsored telecasts. Courts have consistently
  6   rejected the argument that the SBA exempts agreements to distribute telecasts
  7   through pay television and subscription-only packages, including the Sunday Ticket
  8   package in particular. See Shaw v. Dallas Cowboys Football Club, Ltd., 172 F.3d
  9   299, 300-02 (3d Cir. 1999).
 10         Plaintiffs further disagree with defendants’ contention that their claims must
 11   be arbitrated. Any arbitration clause between the plaintiffs and DIRECTV, to the
 12   extent one exists, is inapplicable to the plaintiffs’ claims. Any arbitration clause is
 13   also unenforceable because of, inter alia, lack of mutuality of obligation and
 14   procedural and/or substantive unconscionability. Furthermore, any arbitration
 15   clause with DIRECTV cannot be used to compel arbitration with any third parties.
 16   See Kramer v. Toyota Motor Corp., 705 F.3d 1122, 1126 (9th Cir. 2013)
 17   (“Generally, the contractual right to compel arbitration ‘may not be invoked by
 18   one who is not a party to the agreement and does not otherwise possess the right to
 19   compel arbitration.’”) (quoting Britton v. Co-op Banking Grp., 4 F.3d 742, 744
 20   (9th Cir. 1993)).
 21         Contrary to defendants’ contention, there is no obstacle to certifying any
 22   class of plaintiffs or to antitrust standing. Plaintiffs were all victims of defendants’
 23   conspiracy and paid higher prices as a result of that conspiracy. The single issue of
 24   the existence and scope of the conspiracy will predominate the class.3 Additionally,
 25   because plaintiffs are direct purchasers of a product that was overpriced as a result
 26
      3
 27     While most pending actions assert claims on behalf of putative classes of
      residential or commercial subscribers, some assert claims on behalf of a class
 28   comprised of both residential and commercial subscribers.
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  1   of defendants’ conspiracy, there is also no Illinois Brick problem. See Illinois Brick
  2   Co. v. Illinois, 431 U.S. 720 (1977). Even if Illinois Brick were somehow deemed
  3   to preclude standing to sue for antitrust damage claims here, plaintiffs would still be
  4   entitled to seek broad injunctive relief under the Sherman and Clayton Acts (as
  5   defendants concede), as well as monetary claims under state law.
  6            Finally, the anticompetitive nature of defendants’ conduct is evident: absent
  7   the conspiracy, the NFL teams would have competed to offer their own games in
  8   individual packages at low prices, and all packages would have been cheaper as a
  9   result. This would benefit consumers by giving them more options of what
 10   packages to buy (e.g., a Cowboys fan in New York could buy only Cowboys games)
 11   at cheaper prices. Both fact and expert discovery will elucidate the many
 12   competitive harms of defendants’ conspiracy.
 13            Plaintiffs believe that the following principal factual and legal issues will be
 14   central to the prosecution of this case:
 15            1.    whether the agreements entered into by the defendants constitute
 16   anticompetitive restraints of trade in violation of Section 1 of the Sherman Act, 15
 17   U.S.C. § 1;
 18            2.    whether the agreement entered into by the defendants foreclosed
 19   competition and caused antitrust injury to the plaintiffs and the members of the
 20   class;
 21            3.    as to claims for which a relevant market is required, the definition of
 22   the relevant market applicable to each such claim;
 23            4.    the extent of defendants’ market power within any relevant market;
 24            5.    whether the defendants’ conduct constitutes unlawful monopolization
 25   pursuant to Section 2 of the Sherman Act, 15 U.S.C.§ 2;
 26            6.    whether the plaintiffs must arbitrate their claims against DIRECTV or
 27   any other defendant;
 28            7.    the amount of damages sustained by plaintiffs and the class members;
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  1         8.     the amount of restitution that plaintiffs and the class are entitled to
  2   recover;
  3         9.     the scope of any injunctive relief that should be granted by the Court;
  4   and
  5         10.    whether the class or classes should be certified pursuant to Rule 23.
  6
            B.     NFL and DIRECTV Defendants’ Statement of the Central Factual
  7                and Legal Issues
  8         Because plaintiffs have not filed their consolidated complaint, defendants do
  9   not know which allegations and claims, or even which parties, will be included in
 10   the complaint. Defendants understand that plaintiffs principally challenge the
 11   contractual arrangement whereby the NFL has granted DIRECTV certain exclusive
 12   rights to distribute the Sunday Ticket package of “out-of-market” games.
 13         There are at least five core legal and factual issues central to the resolution of
 14   that challenge, some of which are potentially dispositive as to certain claims and/or
 15   defendants. The list below is not intended to be exhaustive, and is not a waiver of
 16   any other defenses or arguments.
 17         1.     The Sports Broadcasting Act. In 1961, Congress passed the Sports
 18   Broadcasting Act, exempting from the antitrust laws “any joint agreement by or
 19   among persons engaging in or conducting the organized professional team sport[] of
 20   football . . ., by which any league of clubs participating in professional football . . .
 21   contests, sells or otherwise transfers all or any part of the rights of such league’s
 22   member clubs in the sponsored telecasting of the games of football . . . engaged in or
 23   conducted by such clubs.” 15 U.S.C. § 1291. The SBA unambiguously protects,
 24   among other things, the NFL clubs’ pooling of the sponsored telecast rights to their
 25   games and the collective grant of those rights. To the extent plaintiffs challenge any
 26   aspect of those arrangements, that challenge is fatally flawed as a matter of law.
 27   Defendants anticipate a motion to dismiss on this ground in response to the
 28   consolidated complaint.
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  1         2.     The Arbitration Clause in DIRECTV’s Customer Agreements.
  2   DIRECTV provides DIRECTV service to residential and commercial customers
  3   pursuant to the terms and conditions of the DIRECTV Residential Customer
  4   Agreement and the DIRECTV Commercial Customer Agreement, respectively. See
  5   http://www.directv.com/legal. Both the Residential Customer Agreement and the
  6   Commercial Customer Agreement contain arbitration provisions. Section 9 of both
  7   Agreements provides that “you and we agree that any legal or equitable claim
  8   relating to this Agreement, any addendum, or your Service (referred to as a ‘Claim’)
  9   will be resolved . . . in binding arbitration.”   Because each plaintiff, whether a
 10   residential or commercial subscriber, subscribed to DIRECTV service and agreed
 11   that the Customer Agreement’s terms and conditions would govern their receipt of
 12   DIRECTV service (which includes sports programming packages like NFL Sunday
 13   Ticket), plaintiffs must resolve their disputes with DIRECTV in individual
 14   arbitration pursuant to the Customer Agreements’ arbitration provision, which has
 15   been enforced across the country, including by the Ninth Circuit, and Central
 16   District of California. In addition, state contract law requires at least some of the
 17   DIRECTV subscribers to arbitrate their claims against the NFL. See Arthur
 18   Andersen LLP v. Carlisle, 556 U.S. 624, 631-32 (2009) (approving enforceability of
 19   arbitration provisions by certain non-signatories). Defendants anticipate a motion to
 20   compel arbitration in response to the consolidated complaint.
 21         3.     Class Certification. Defendants expect that plaintiffs will be unable to
 22   meet the Rule 23 class certification standards. The current complaints reflect wide
 23   variation in the goals, interests, and preferences of the putative plaintiffs, and further
 24   suggest that at least some plaintiffs materially benefit from the challenged
 25   arrangements.
 26         4.     Lack of Antitrust Standing. Plaintiffs lack antitrust standing to seek
 27   damages allegedly caused by the NFL’s decision to license to DIRECTV the rights
 28   to distribute out-of-market Sunday afternoon football games. Under Illinois Brick
                                                  7
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  1   Co. v. Illinois, 431 U.S. 720 (1977) and Ninth Circuit precedent, plaintiffs are
  2   indirect purchasers with respect to that agreement, and their damages claims may
  3   not proceed.
  4         5.       Competitive Effects of the NFL-DIRECTV Sunday Ticket
  5   Agreement. Defendants maintain that the exclusive Sunday Ticket licensing
  6   agreement between the NFL and DIRECTV offers significant pro-consumer benefits
  7   and is fully consistent with the antitrust laws. Defendants anticipate filing motions to
  8   dismiss and/or motions for summary judgment on the following bases, any one of
  9   which would defeat plaintiffs’ antitrust claims.
 10         First, plaintiffs cannot demonstrate that the Sunday Ticket agreement between
 11   the NFL and DIRECTV harms competition in a properly defined relevant antitrust
 12   market, as required to state a claim under the antitrust laws. An exclusive
 13   distribution agreement, standing alone, is not a violation of the antitrust laws and
 14   does not in most circumstances adversely affect competition in any properly defined
 15   relevant market. Moreover, the Sunday Ticket agreement has significant
 16   procompetitive effects; among other things, it has generated the effective
 17   production, marketing, and distribution of a popular and high quality product, and it
 18   has helped stimulate competition and innovation in the distribution of multichannel
 19   video programming distribution services, including by enabling the growth of the
 20   DBS industry and fostering greater competition with cable providers.
 21         Second, the relevant market identified in a number of the complaints—for
 22   “out-of-market” NFL games—is not a plausible market. In-market broadcast games
 23   airing on CBS and FOX on Sunday afternoons are among the many reasonable
 24   substitutes for the “out-of-market” games in the Sunday Ticket package, and the
 25   availability of such in-market games on free, over-the-air television—in addition to
 26   the numerous other competing entertainment options available to consumers—
 27   defeats any claim that either or both the NFL and DIRECTV have monopoly power
 28   in any relevant market.
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   1           C.    Network Defendants’ Statement
   2           If named as defendants in any consolidated amended complaint, each
   3   Network (CBS, ESPN, Fox, and NBC) anticipates making at least the following
   4   threshold challenges, each of which warrants their immediate dismissal from this
   5   case:
   6           First, there are no factual allegations plausibly connecting any Network to any
   7   alleged conspiracy between the NFL, its teams, and DIRECTV concerning the
   8   Sunday Ticket package.4 The sole connection is each Network’s separate broadcast
   9   contract with the NFL – which are immune from antitrust challenge under the Sports
  10   Broadcasting Act. Moreover, some of the Networks’ games, e.g., NBC’s and
  11   ESPN’s, are not even televised on Sunday afternoon for rebroadcast in the Sunday
  12   Ticket package. Bell Atlantic v. Twombly, 550 U.S. 544 (2007), and its progeny
  13   make clear that “an account of a defendant’s commercial efforts” is insufficient to
  14   state a conspiracy claim. Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1048 (9th Cir.
  15   2008); see also In re Musical Instruments & Equip. Antitrust Litig., 798 F.3d 1186,
  16   1194 (9th Cir. 2015) (“Allegations of facts that could just as easily suggest rational,
  17   legal business behavior by the defendants as they could suggest an illegal conspiracy
  18   are insufficient to plead a § 1 violation.”).
  19           Second, for the same reasons the Networks are not plausibly alleged to be part
  20   of any supposed conspiracy, there are no allegations that plaintiffs suffered any
  21   antitrust injury flowing from each of the Network’s lawful broadcast contracts with
  22   the NFL. See, e.g., Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489
  23   4
         Indeed, some plaintiffs themselves have acknowledged that there is no basis for
  24   including the Networks in this action. See, e.g., JPML Dkt. No. 65 at 2 (Plaintiff
       Ninth Inning’s Response To Plaintiff Trilogy Holding’s Support Of Transfer To The
  25
       Southern District Of New York) (noting that it is unclear “what role the four
  26   networks played in the restraint being alleged or how they should be held liable for
  27   the damages claimed as a result of DirecTV’s exclusive deal with the NFL” and
       concluding that “inclusion of these networks as defendants in this situation—
  28   something no other plaintiff has done—thus smacks of gamesmanship . . . .”).
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   1   (1977) (“Plaintiffs must prove antitrust injury, which is to say injury of the type the
   2   antitrust laws were intended to prevent and that flows from that which makes
   3   defendants’ acts unlawful.”); In re Canadian Import Antitrust Litig., 470 F.3d 785,
   4   791-92 (8th Cir. 2006) (dismissing complaint brought by consumers against drug
   5   manufacturers where the purported injury (higher drug prices) was caused by the
   6   government’s prohibition on importing Canadian drugs, not the conduct of the
   7   defendants).
   8          Finally, any named plaintiffs or absent class members in the putative class(es)
   9   with valid and enforceable arbitration clauses in their subscriber agreements with
  10   DirecTV cannot avoid those provisions – and the express bar on class action
  11   lawsuits like this one – by suing the Networks instead because they purport to allege
  12   a scheme (albeit an implausible one) where the claims against the Networks are
  13   intertwined with the claims against DIRECTV. See, e.g., Arthur Andersen LLP, 556
  14   U.S. at 631-32 (non-signatories to arbitration provisions can enforce those
  15   provisions under certain circumstances); In re Apple & AT&TM Antitrust Litig., 826
  16   F.Supp.2d 1168, 1175-79 (N.D. Cal. 2011) (allowing Apple to enforce the
  17   arbitration provision in AT&T’s subscriber agreement).
  18          Perhaps not surprisingly, given the foregoing reasons, the vast majority of the
  19   complaints transferred to this MDL did not sue the Networks. If, however, the
  20   Networks are named in any consolidated amended complaint, they will defend
  21   themselves vigorously. The Network Defendants reserve their rights to assert
  22   additional defenses, if and to the extent the Network Defendants are named in any
  23   consolidated complaint(s) and any claim remains after threshold motions to dismiss.
  24   III.   PROPOSED DISCOVERY PLAN
  25   The Court’s Request:
  26          A joint proposed discovery plan, in as much detail as is presently possible.
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  28
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   1   Parties Submission:
   2
             A.     Proposed Changes in the Timing, Form, or Requirement for Initial
   3                Disclosures Pursuant to Rule 26(a)
   4                1.     Plaintiffs’ Position
   5         Plaintiffs propose exchanging initial disclosures sixty (60) days after
   6   plaintiffs’ filing of consolidated pleadings.
   7                2.     Defendants’ Position
   8         Defendants propose exchanging initial disclosures sixty (60) days after the
   9   filing of motions to dismiss and/or to compel arbitration. While defendants believe
  10   all discovery should be stayed until their motions to dismiss and motions to compel
  11   arbitration are decided, they nonetheless agreed to provide these initial disclosures.
  12   By agreeing to make these initial disclosures, no defendant is waiving any rights
  13   under Federal Rule of Civil Procedure 12(b)(6) or pursuant to any applicable
  14   arbitration agreement.
  15         B.     Subjects on Which Discovery May be Needed
  16         The plaintiffs anticipate taking discovery on the relationships,
  17   communications, and agreements among: (a) the NFL and its member teams; (b) the
  18   NFL and DIRECTV; and (c) the NFL and other broadcasters of live NFL games.
  19   The plaintiffs also anticipate taking discovery on the effect of these relationships on
  20   plaintiffs and the class(es), and defendants’ knowledge of consumer demand for
  21   various types of NFL programming. Furthermore, discovery may be taken
  22   regarding the relevant product and geographic markets at issue in this litigation, the
  23   market power of the defendants within these markets, and consumer demand.
  24   Finally, issues related to class certification and the appropriate relief, including
  25   damages, will also likely require discovery.
  26         The defendants anticipate taking discovery concerning each plaintiff’s
  27   decision to subscribe to Sunday Ticket; the reason for that subscription; the terms
  28   and circumstances of that subscription; any subscriber and/or other agreements that
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   1   the plaintiff entered into in connection with that subscription; how that plaintiff
   2   uses the Sunday Ticket product; the plaintiff’s consumption of other television and
   3   other entertainment products; and the alleged harms and damages arising from that
   4   subscription. The defendants anticipate taking discovery concerning, among other
   5   things, the appropriateness of class certification in this case as well as plaintiffs’
   6   alleged market definition.
   7          The parties reserve the right to seek discovery on additional topics in the
   8   litigation.
   9          C.        Timing of Commencement of Discovery.
  10                 1. Plaintiffs’ Position
  11          With respect to the commencement of discovery, plaintiffs do not seek any
  12   discovery at this time. Plaintiffs will confer regarding the proper commencement
  13   date of fact discovery following the appointment of plaintiffs’ leadership.
  14                 2. Defendants’ Position
  15          As explained above, defendants intend to file motions to dismiss on several
  16   grounds, which, if granted, will dispose of plaintiffs’ claims in their entirety. In
  17   addition, certain defendants intend to move to compel arbitration; those motions, if
  18   granted, also would negate the need for discovery with respect to those defendants.
  19   Defendants therefore maintain that discovery should be stayed until the Court rules
  20   on the motions to dismiss and motions to compel arbitration. See, e.g., Top Rank,
  21   Inc. v. Haymon, 2015 WL 9952887, at *2 (C.D. Cal. Sept. 17, 2015) (staying
  22   discovery while motion to dismiss pending); Hill v. Asset Acceptance, LLC, 2014
  23   WL 1289578, at *2 (S.D. Cal. Mar. 27, 2014) (staying discovery while motion to
  24   compel arbitration was pending).
  25          If the Court requires, defendants are prepared to brief the issue of a discovery
  26   stay. As explained elsewhere in this Joint Report, defendants have attempted to
  27   compromise with plaintiffs by offering to exchange initial disclosures and to
  28   develop a protective order and ESI protocol. It would be inappropriate to commence
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   1   any more burdensome discovery until the Court has ruled on defendants’ motions to
   2   dismiss and to compel arbitration.
   3          D.     Proposed Schedule for Discovery and Phased Discovery.
   4          The following proposed schedule is based on the parties’ discussions
   5   regarding the appropriate timeline for the conduct of this litigation. The parties note
   6   that the dates below, and other critical dates that may need to be included in any
   7   Scheduling Order, may depend, in part, on the Court’s appointment of leadership for
   8   plaintiffs.
   9          The parties request that the schedule below be subject to modification by
  10   agreement of the parties or by further order of the Court.
  11
  12                       Event                                   Proposed Date
       Hearing on motion for consolidation                  May 18, 2016 (in conjunction
  13                                                        with the CMC), as previously
  14                                                        ordered by the Court
  15   5-page letter on plaintiffs’ proposed leadership     TBD by Court
       structure(s) (if contested)
  16
       5-page responses on plaintiffs’ proposed             TBD by Court
  17   leadership structure(s) (if contested)
  18   Appointment of leadership for plaintiffs             TBD by Court
  19   Filing of Consolidated Complaint                     30 days after plaintiffs’
                                                            leadership is appointed
  20
       Motions to dismiss/compel arbitration                45 days after filing of
  21
                                                            consolidated complaint
  22   Opposition to motions to dismiss/compel              45 days after filing of motions
  23   arbitration                                          to dismiss/compel arbitration
  24   Deadline to amend pleadings or add parties           45 days after filing of motions
       without leave of court                               to dismiss/compel arbitration
  25
       Initial Disclosures under Rule 26(a)(1)              The parties’ respective
  26                                                        positions are set forth in
  27                                                        Section III.A., above

  28
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   1                         Event                               Proposed Date
   2   Replies in support of motions to dismiss/compel    30 days after filing of
       arbitration                                        Opposition to motions to
   3
                                                          dismiss/compel arbitration
   4   Order on motions to dismiss/compel arbitration     TBD by Court
   5   (“MTD Order”)
   6   Answer to Consolidated Complaint                   30 days after MTD Order
       (“Answer”)
   7
       Discovery commences                                The parties’ respective
   8                                                      positions are set forth in
   9                                                      Section III.C., above
  10   Deadline for substantial production of usable      3 months after
       transactional data                                 commencement of discovery
  11
       Deadline for substantial completion of document    7 months after
  12   production                                         commencement of discovery
  13   Deadline for completion of fact discovery          11 months after
  14                                                      commencement of discovery
       Plaintiffs’ class certification motion and         12 months after Answer
  15   accompanying expert reports
  16   Deadline for production back-up data in            5 calendar days after
       connection with expert reports                     submission of each respective
  17                                                      expert report
       Deadline for completion of expert depositions      30 days after service of each
  18                                                      respective expert report
  19   Defendants’ response to class certification        75 days after filing of class
       motion and accompanying class certification        certification motion
  20   expert reports
       Plaintiffs’ replies to response to class           45 days after filing of
  21   certification motion and accompanying rebuttal     defendants’ response to class
       class certification expert reports                 certification motion
  22
       Plaintiffs’ opening merits expert reports served   18 months after Answer
  23
       Defendants’ merits expert reports served           75 days after service of
  24                                                      plaintiffs’ opening merits
                                                          expert reports
  25
       Summary judgment motions filed                     Not later than 45 days after
  26
                                                          the deadline for completion of
  27                                                      expert depositions
  28
                                                    14
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   1                      Event                                    Proposed Date
   2   Responses to summary judgment motions                60 days after filing of
                                                            summary judgment motions
   3
       Replies in support of summary judgment motions 30 days after filing of
   4                                                  oppositions
   5
             D.     Electronically Stored Information
   6
             The parties anticipate filing a stipulation regarding the preservation and
   7
       collection of electronically stored information. The parties propose that this issue be
   8
       further addressed in a supplemental joint report to be filed within 60 days of the
   9
       Court appointing leadership for the plaintiffs.
  10
             E.     Issues Regarding Privilege or Attorney Work Product
  11
             The parties propose that this issue be addressed in a supplemental joint report
  12
       to be filed within 90 days of the Court appointing leadership for the plaintiffs.
  13
             F.     Proposed Changes in the Limitations on Discovery Imposed by the
  14                Rules
  15
             The parties propose that this issue be addressed in a supplemental joint report
  16
       to be filed within 60 days of the Court appointing leadership for the plaintiffs.
  17
             G.     Other Orders the Court Should Issue Under Rules 16(b), 16(c), or
  18                26(c)
  19
             The parties anticipate filing a joint proposed protective order with the
  20
       magistrate judge in accordance with the Court’s Standing Order. The parties propose
  21
       that this issue be further addressed in a supplemental joint report to be filed within
  22
       60 days of the Court appointing leadership for the plaintiffs.
  23
       IV.   PROPOSED SCHEDULE FOR LAW AND MOTION MATTERS
  24
             The parties propose law and motion matters be conducted in accordance with
  25
       the schedule proposed in Section III.C, supra.
  26
  27
  28
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   1   V.      LIST OF PARTIES, AFFILIATES, AND COUNSEL
   2           A list of the parties, corporate affiliates, and counsel associated with this
   3   MDL is provided in Exhibit A, attached hereto.
   4   VI.     PENDING MOTIONS
   5           1. The motion for consolidation filed by plaintiffs on February 29, 2016.
   6           2. The motion for remand filed by the plaintiff in Lippincott v. DirecTV, Inc.
   7   case (No. 2:15-cv-09996-BRO-JEMx) on January 29, 2016.
   8   VII. OUTSTANDING DISCOVERY REQUESTS
   9           Discovery has not commenced in this litigation; therefore, no discovery
  10   requests are currently outstanding.
  11   VIII. RELATED CASES PENDING IN STATE OR FEDERAL COURT
  12           Two related cases are pending that were not identified in the Case
  13   Management Order:
  14           1)    Seifert Holdings, Inc. et al. v. Nat’l Football League, Inc., et al., Case
  15   No. 2:15-cv-09944-BRO-JEMx; and
  16           2)    Sir Waldon Inc. v. Nat’l Football League, Inc., et al., Case No. 2:16-cv-
  17   01025-BRO-JEMx. 5
  18           Both cases have since been added to the MDL docket and were identified and
  19   included in the motion to consolidate actions filed by plaintiffs on February 29,
  20   2016.
  21   IX.     FORMATION OF PLAINTIFFS’ LEADERSHIP STRUCTURE
  22           A.    Plaintiffs’ Statement
  23           Plaintiffs have not yet determined plaintiffs’ leadership structure among
  24   themselves. If the issue is not determined before the May 18, 2016 Case
  25   Management Conference, Plaintiffs will be prepared to discuss leadership matters
  26
  27   5
        The MDL docket incorrectly lists Sir Waldon, Inc. as a South Dakota corporation;
  28   Sir Waldon, Inc. is a California corporation.
                                                  16
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   1   with the Court at the Case Management Conference and will advise the Court if any
   2   agreements are reached in the interim.
   3         B.     Defendants’ Statement
   4         Defendants take no position as to the composition of the Plaintiffs’ Steering
   5   Committee or the Plaintiffs’ Administrative/Management Committee. Whether
   6   plaintiffs make arrangements among themselves to determine leadership, or the
   7   Court designates members of the committees following consideration of applications
   8   submitted by interested counsel, defendants offer no objection to the composition of
   9   either such committee.
  10         Defendants also take no position as to whether the Court should designate a
  11   Plaintiffs’ Liaison Counsel, but maintain that plaintiffs should be required to
  12   designate a single contact for defendants to facilitate communications with
  13   plaintiffs’ counsel.
  14   X.    OTHER TOPICS
  15         The parties further address the following topics identified in the Court’s
  16   proposed agenda for the Case Management Conference and Local Rule 26-1.
  17         A.     Likelihood of Additional Parties
  18         The parties do not believe additional parties are likely to be added to the cases
  19   already pending before the Court.
  20         B.     Trial Estimate
  21         The parties propose that this issue be addressed in a supplemental joint report
  22   to be filed within 60 days of the Court ruling on the motions to dismiss and motions
  23   to compel arbitration.
  24         C.     Selection of Alternative Dispute Resolution Format
  25         The parties propose that this issue be addressed in a supplemental joint report
  26   to be filed within 60 days of the Court ruling on the motions to dismiss and motions
  27   to compel arbitration.
  28
                                                17
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   1         D.     Complexity of Litigation
   2         The parties believe that the procedures in the Manual for Complex Litigation
   3   may be relevant to this litigation.
   4         E.     Mechanism for Apprising the Court of Case Status
   5         The parties propose the Court require the parties to submit a joint status report
   6   every 60 days after the filing of this Joint Preliminary Report to apprise the Court of
   7   the status of the litigation. Until the Court appoints leadership for the plaintiffs, the
   8   parties propose that the interim counsel identified in the Case Management Order
   9   prepare any further joint status reports.
  10
             F.     Jurisdictional Issues, Including Whether Any Actions Should be
  11                Remanded to State Court
  12         Plaintiff in the Lippincott case seeks a remand to state court. DIRECTV
  13   opposes the remand motion. Furthermore, the parties anticipate that certain
  14   defendants will move to compel arbitration of the claims against those defendants.
  15   The parties are not aware of any other potential jurisdictional issues at this time.
  16         G.     Establishment of a Website
  17         The parties do not believe a website is necessary at this time, but reserve the
  18   right to propose one if deemed necessary or appropriate.
  19                                            Respectfully submitted,
  20
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